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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

                                              )
UNITED STATES OF AMERICA                      )       Criminal No. 1:18-cr-10043-FDS
                                              )
       v.                                     )       Violations:
                                              )
AUSTIN WILKERSON,                             )       Counts One – Three: 21 U.S.C. § 841(a)(1)
     Defendant.                               )       Distribution of a Controlled Substance
                                              )
                                              )       Drug Forfeiture
                                              )       21 U.S.C. § 853
                                              )

                             JOINT INITIAL STATUS REPORT

       Pursuant to Local Rule 116.5(a), the parties hereby file the following initial status report
prepared in connection with the initial status conference scheduled for June 21, 2018:

       (1)     Automatic Discovery/Pending Discovery Requests

       The Government intends to provide automatic discovery by June 22, 2018.

       (2)     Additional Discovery

       The Government does not anticipate providing additional discovery aside from any
materials covered by Local Rule 116.5(b)(2) that have not already been disclosed.

       (3)     Timing of Additional Discovery Requests

        The defendant’s review of the automatic discovery is ongoing and requests additional
time to determine if discovery requests are necessary and, if so, to make those requests.

       (4)     Protective Orders

       It does not presently appear that any protective orders are anticipated by the parties.
Should that change, the parties will address those issues promptly.

       (5)     Pretrial Motions

       Because discovery review is ongoing, defendant cannot yet determine whether any Fed.
R. Crim. P. 12(b) motions will be filed.

       (6)     Expert Discovery

       The Government agrees to provide any expert witness disclosures 30 days prior to trial.
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The Defendant agrees to provide any expert witness disclosures 14 days prior to trial.

       (7)     Speedy Trial Act

       All of the time has been excluded between the Defendant=s arraignment on April 17, 2018
through the date of the initial status conference. [Dkt. #48]. The parties further agree to exclude
the time from the initial status conference date through the interim status conference date
pursuant to 18 U.S.C. § 3161(h)(7).

       (8)     Interim Status Conference

        The parties request an Interim Status Conference be scheduled in approximately 30 days,
or as soon thereafter as is convenient to the Court.

       Because Defendant’s discovery review is ongoing, the parties jointly request that the
Court cancel the presently scheduled initial status conference in lieu of this Joint Report.

                                                      Respectfully submitted,

                                                      ANDREW E. LELLING
                                                      United States Attorney

Date: June 20, 2018                           By:     /s/ Nicholas Soivilien
                                                      Nicholas Soivilien
                                                      Assistant United States Attorney



Date: June 20, 2018                           By:     /s/ Scott Lauer
                                                      Scott Lauer
                                                      Counsel for Defendant


                                  CERTIFICATE OF SERVICE

       I, Nicholas Soivilien, hereby certify that the foregoing was filed through the Electronic
Court Filing system and will be sent electronically to the registered participants as identified on
the Notice of Electronic Filing.

Date: June 20, 2018                                   /s/ Nicholas Soivilien
                                                      Assistant United States Attorney




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